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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK

DISPLAY TECHNOLOGIES, LLC,                      §
                                                §
       Plaintiff,                               §            Case No: 19 cv 4282
                                                §
vs.

PYLE PRO AUDIO CORP.,
                                      §
      Defendant.                      §                 PATENT CASE
_____________________________________ §


                                           COMPLAINT

       Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this Complaint

against Pyle Pro Audio Corp. (“Defendant” or “Pyle”) for infringement of United States Patent

No. 9,300,723 (the “ ‘723 Patent”).

                              PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States

Code. Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with a place of business at 1801

NE 123rd Street, Suite 314, North Miami, FL 33161.

       4.      On information and belief, Defendant is a New York corporation with a

principal office address of 1600 63 St., Brooklyn, NY 11204.

       5.      This Court has personal jurisdiction over Defendant because Defendant has

committed, and continues to commit, acts of infringement in this District, has conducted



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business in this District, and/or has engaged in continuous and systematic activities in this

District.

        6.      Upon information and belief, Defendant’s instrumentalities that are alleged

herein to infringe were and continue to be used, imported, offered for sale, and/or sold in this

District.

                                              VENUE

        7.      On information and belief, venue is proper in this District under 28 U.S.C. §

1400(b) because Defendant is deemed to be a resident of this District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)

        8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.      This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.     Plaintiff is the owner by assignment of the ‘723 Patent with sole rights to

enforce the ‘723 Patent and sue infringers.

        11.     A copy of the ‘723 Patent, titled “Enabling social interactive wireless

communications,” is attached hereto as Exhibit A.

        12.     The ‘723 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

        13.     Defendant has infringed and continues to infringe one or more claims, including

at least Claims 12, 14, 16, 17, and 20 of the ‘723 Patent by making, using, and/or selling media

systems covered by one or more claims of the ‘723 Patent. For example, Defendant makes,

uses, and/or sells the Street Flow Wireless & Portable Bluetooth Boombox (Model No.

PBMSPB130BK) having NFC pairing, and any similar products (“Product”). Defendant has



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infringed and continues to infringe the ‘723 Patent in violation of 35 U.S.C. § 271.

       14.     Regarding Claim 12, the Product is configured to receive a media file (e.g.,

music file) from a wireless mobile device (e.g., mobile phone) over a communication network

(e.g. Bluetooth network or NFC). The wireless mobile device (e.g., mobile phone) sends data

(e.g., music file) to the media system. The wireless mobile device is a passive NFC device,

whereas the media system is an active NFC device as it can receive the data during wireless

transmission. Certain aspects of this element are illustrated in the screenshots below and/or

those provided in connection with other allegations herein.




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       15.     The Product includes a wireless receiver (e.g., Bluetooth receiver). Certain

aspects of this element are illustrated in the screenshots below and/or in those provided in

connection with other allegations herein.




       16.     The Product includes a security measure (e.g., Bluetooth PIN). Certain aspects

of this element are illustrated in the screenshots below and/or those provided in connection

with other allegations herein.




       17.     The Product is disposed in an accessible relation to at least one interactive

computer network (e.g., Bluetooth network) that has a wireless range (e.g., 50’ + feet)


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structured to permit authorized access (e.g., via pairing code) to said at least one interactive

computer network. Certain aspects of this element are illustrated in the screenshots below

and/or those provided in connection with other allegations herein.




       18.     When the wireless mobile device is within the wireless range, the wireless

mobile device is detectable by the media system (e.g., the Wireless & Portable Bluetooth

BoomBox Speaker automatically detects a smartphone with NFC when placed within NFC

range). Data transmission through NFC is done by two devices: polling device and listening

device. The polling device is the one that initiates the communication link and the listening

device is the one that detects the signal. In the Product, the media system is the polling device


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and the wireless mobile device is the listening device. The media system (active NFC) is

sending electromagnetic signals within a certain area. The mobile phone (passive NFC) detects

the signals and the connection is established. As the electromagnetic signals are being initiated

by the media system, the media system behaves as an initiator (polling device) and the mobile

device phone behaves as a target (listening device). Certain aspects of this element are

illustrated in the screenshots below and/or those provided in connection with other allegations

herein.




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          19.   At least one digital media file (e.g., music file) is initially disposed on the

wireless mobile device (e.g., the mobile phone includes one or more music files). Certain

aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.




          20.   The media system is structured to detect the wireless mobile device disposed

within the wireless range (e.g., Wireless & Portable Bluetooth BoomBox Speaker

automatically detects the mobile phone when placed within NFC range). The media system

(active NFC) sends electromagnetic signals within a certain area. The mobile phone (passive

NFC) detects the signals and the connection is established. Certain aspects of this element are

illustrated in the screenshots below and/or those provided in connection with other allegations

herein.




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       21.     A communication link (e.g., NFC) is structured to dispose the media system

(Wireless & Portable Bluetooth BoomBox Speaker) and the wireless mobile device (e.g.

mobile phone) in a communicative relation with one another via the at least one interactive

computer network. Certain aspects of this element are illustrated in the screenshots below

and/or those provided in connection with other allegations herein.




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        22.     The communication link is initiated by the media system (e.g., the media system

 sends electromagnetic signals which are detected by the mobile phone). Certain aspects of this

 element are illustrated in the screenshots provided in connection with other allegations herein.

        23.     The wireless mobile device and the media system are structured to transmit the

 at least one digital media file there between via the communication link (e.g., Wireless &

 Portable Bluetooth BoomBox Speaker allows for the transmission of files between itself and

 the wireless mobile device; e.g., the mobile device transmits the music file to the media

 system). Certain aspects of this element are illustrated in the screenshots provided in

 connection with other allegations herein.

        24.     The communication link is structured to bypass the security measure of the

 media system for a limited permissible use of the communication link by the wireless mobile

 device for only transferring the at least one digital media file to, and displaying the at least one

 digital media file on, the media system (e.g., the Wireless & Portable Bluetooth BoomBox

 Speaker bypasses the security measure (e.g., PIN-based pairing process) of the Bluetooth

 network using the NFC). Certain aspects of this element are illustrated in the screenshots

 provided in connection with other allegations herein.

        25.     Regarding Claim 14, the transmission of the at least one digital media file from

 the wireless mobile device to the media system completely bypasses the security measure (e.g.,

 the Wi-Fi security settings such as encryption or password requirements are completely


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 bypassed for the purpose of transmitting the digital media file). Certain aspects of this element

 are illustrated in the screenshots provided in connection with other allegations herein.

           26.   Regarding Claim 16, the media system is an audio system.

           27.   Regarding Claim 17, the communication link is a Bluetooth connection.

           28.   Regarding Claim 20, the digital media file is provided by the wireless mobile

 device.

           29.   Defendant’s actions complained of herein will continue unless Defendant is

 enjoined by this court.

           30.   Defendant’s actions complained of herein are causing irreparable harm and

 monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

 and restrained by this Court.

           31.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                    PRAYER FOR RELIEF

           WHEREFORE, Plaintiff asks the Court to:

           (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

 herein;

           (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,

 attorneys, and all persons in active concert or participation with Defendant who receive notice

 of the order from further infringement of United States Patent No. 9,300,723 (or, in the

 alternative, awarding Plaintiff running royalties from the time of judgment going forward);

           (c)   Award Plaintiff damages resulting from Defendant’s infringement in

 accordance with 35 U.S.C. § 284;

           (d)   Award Plaintiff pre-judgment and post-judgment interest and costs; and




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        (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled

 under law or equity.

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  DATED July 25, 2019                       Respectfully submitted,
                                            /s/ Gerard F. Dunne
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